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CITY OF BEAUMONT, FRANK COE
and GREG FAGAN

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION

SCOT DAVIS, et al., CASE NO. CV 12-04990 ABC (SHx)
. Plaintiffs, PROCESSED STIPULATED
Stale OF BEAUMONT, | Trial Date: None Set |
Defendants.

 

 

Plaintiffs SCOT DAVIS, BRIAN FORD, JEREMY HARRIS, and Defendants
CITY OF BEAUMONT, FRANK COE and GREG FAGAN jointly submit this
stipulated protective order.

1.
CASE SUMMARY

This case involves allegations by Beaumont police officers of:

1. “42 USC 1983” [retaliation for speech-related activities]

2. FMLA interference/retaliation [29 USC Sec. 2615]

3. State-Law Retaliation [Gov. Code Secs. 3302, 3309.5, 3502, 3502.1, 3506
~ retaliation for conducting “political activity”]

4. State Law Retaliation [Gov. Code Secs 3502, 3506 - retaliated against as

officer of bargaining unit]

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[PROPOSED] STIPULATED PROTECTIVE ORDER

 
 

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During discovery, it is anticipated that Plaintiffs or defendants will request
access to documents which both parties contend submit are privileged, confidential
and/or proprietary, including portions of the plaintiffs’ personnel files, internal
affairs investigations concerning Plaintiffs, and internal affairs information and
investigative material concerning this case. It is also anticipated that the parties will
delve into these topics during the depositions of Scot Davis, Brian Ford Jeremy
Harris, Frank Coe and Greg Fagan and other City or Police Department employees.

2.
SEEKING INFORMATION DEEMED
CONFIDENTIAL BY DEFENDANTS

It is anticipated that some of the following documents will be addressed in
discovery proceedings and motions and trial in this action:

Internal Affair files, reports, findings and interviews involving Scot Davis,
Brian Ford and Jeremy Harris;

Portions of plaintiffs’ personnel files; and

Policies and Procedures of the Beaumont Police Department.

It is anticipated that counsel will formulate questions with respect to these

documents and information during depositions.

3.
GOOD CAUSE STATEMENT

The parties agree that a Protective Order governing these documents will
serve to balance the officers’ rights of privacy with the plaintiffs’ right to discovery
in this litigation. Defendants submit that good cause exists to issue a protective
order in this case because Plaintiff will be seeking confidential information
maintained by the City of Beaumont Police Department, i.e., personnel records,
investigative files, training and education records, evaluations, dispatch tapes.

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Defendants contend that these items are confidential or subject to the official
information privilege as discussed above; the personnel files contain information
which is not a matter of public record pursuant to statute. See generally, Miller v.
Pancucci, 141 F.R.D, 292 (C.D.Cal. 1992) [discussing official information
privilege]; Soto v. City of Concord, 162 F.R.D. 603 (N.D.Cal. 1995) [noting privacy
interest in personnel files]; Sanchez v. City of Santa Ana, 936 F.2d 1027, 1033-1034
(9" Cir. 1991) [ police personnel files are confidential]. |

4.
STIPULATIONS

In order to allow discovery of the information and documents the parties will

be seeking while protecting all parties’ interests, the parties stipulate as follows:

1. Counsel for a party who produces information and documents
which are confidential and/or proprietary may so designate the
information and documents at the time of production, The
copies of any records disclosed to counsel for parties pursuant to
this Protective Order may be distinctively marked, provided that
such marking does not obscure or obliterate the content of any
record, and may be stamped with substantially the following
language: “CONFIDENTIAL —- UNLAWFUL TO
DUPLICATE.” Thereafter, counsel for the other parties to this
lawsuit shall not convey, transfer, publish, distribute, copy,
duplicate or disseminate the information or documents so
provided except as may be reasonably necessary for the
prosecution of this litigation only, by communicating with the
parties, or investigators, consultants and experts retained on

behalf of the parties in this matter.

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The parties and counsel shall not use such documents for any
purpose other than to prepare for or to try this case only.

Prior to the dissemination of any such information or documents
pursuant to this Protective Order (except for the Court and Court
personnel), counsel shall inform such person of the terms and
conditions of this Protective Order and secure such person’s
written agreement to be bound by it.

Counsel for each party shall take reasonable precaution to
prevent the unauthorized or inadvertent disclosure of any of the
protected information or documents.

If any information or document provided pursuant to this
Protective Order is used in any motion filed with the Court, the
party intending to use such information or document shall file an
application to have it filed under seal pursuant to Local Rule 79-
5, including filing a public redacted version of the document
concurrently.

Parties may assert that particular documents designated as
confidential are in fact, public knowledge or otherwise not
subject to protection hereunder. Such assertion, if made, shall be
discussed between counsel for the parties and if agreement
cannot be reached, the matter will be submitted to the Court for
resolution in a motion pursuant to Local Rule 37, and until
resolved by the Court shall remain protected as confidential
information hereunder. The burden of demonstrating that
documents should be protected by this Order shall remain at all

times on the designating party.

 

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All documents subject to this Protective Order that are submitted
to the Court or used in any pretrial proceeding before this Court
shall remain confidential and the party submitting such
information shall file an application to have it filed under seal
pursuant to Local Rule 79-5, including filing a public redacted
version of the document concurrently.

The inadvertent or unintentional disclosure of confidential
documents/information by the disclosing party shall not be
construed to be a waiver, in whole or in part of the disclosing
party’s claims of confidentiality either as to the specific
documents or as to any other information relating thereto.

In the event anyone shall violate or threaten to violate any terms
of this Protective Order, the aggrieved party may apply to obtain
injunctive relief and monetary sanctions against any such person
violating or threatening to violate any of the terms of this
Protective Order. This Court shall have the power to impose
whatever penalties it deems appropriate for the violation of said
Order, including, but not limited to, monetary and judicial
sanctions and contempt. Any court with proper jurisdiction
(which does not include U.S. Magistrate Judges) may issue
injunctive relief.

The provisions of this Protective Order shall survive and remain
in full force and effect after the Entry of Final Judgment
(including any appellate proceedings) in this case, whether by
settlement or litigation.

Upon final conclusion of the present litigation, all copies of all
documents disclosed subject to this Protective Order shall be

returned to counsel for the party who provided them. If

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documents are filed with the Court pursuant to Local Rule 79-5,
said documents shall be disposed of as provided in Local Rule
79-5,

The agreement of the parties embodied in this Protective Order
does not constitute an admission or agreement that any
documents or information is subject to discovery, or is
admissible as evidence, in this case. Designation of any
information as subject to this Protective Order shall have no
meaning or effect whatsoever with respect to the substantive
issues in this proceeding or the claims or defenses of any party
hereto.

This Court retains jurisdiction to construe, enforce and amend
the provisions of this Order. This Order may not be modified
absent further action by the Court.

The treatment of confidential information to be introduced at

trial shall be the subject of a later order.

 

 

 

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FEDERAL COURT PROOF OF SERVICE
DAVIS vs CITY OF BEAUMONT, et al. - File No. 25401.12
STATE OF CALIFORNIA, COUNTY OF SAN BERNARDINO

. At the time of service, I was over 18 years of age and not a party to the action.
My business address is 650 East Hospitality Lane, Suite 600, San Bernardino, CA
92408. I am employed in the office of a member of the bar of this Court at whose
direction the service was made.

On April 26, 2013, I served the following document(s): [PROPOSED]
STIPULATED PROTECTIVE ORDER

_ _ Iserved the documents on the following persons at the following addresses
(including fax numbers and e-mail addresses, if applicable):

Michael A. McGill

LACKIE DAMMIER & McGILL APC.
367 North Second Street

Upland, California 91786
909-985-4003 .

909-985-3299 (facsimile)

Attorneys for Plaintiffs

SCOT DAVIS, JEREMY HARRIS
and BRIAN FORD

The documents were served by the following means:

Kl (BY COURT’S CM/ECF SYSTEM) Pursyaftfo oval Rule, I electronically’
iled the documents with the Clerk of the fgart us ng t 1¢ CM/ECE system,
$ listed above.

         
         
  
    
 

I declare under penalty of perjury und¢r the laws/of the State of
CALIFORNIA that the foregoing is true and cof

Executed on April 26, 2013, at San
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SHARON DENISE MOORE

   

 
